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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      10/21/2020


MOHAMMED ANWARUL ISLAM, et al.,

                                            Plaintiffs,                16-CV-02100 (PAC)(SN)

                          -against-                                             ORDER

TRIBUTE HOSPITALITY GROUP, et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

        This case has been inactive for nearly one year. Plaintiffs represented on September 9,

2019, that they would not be seeking a default judgment against Defendants Tribute Hospitality

Group LLC, Tribeca Canvas LLC, and Tribeca Canvas New Inc. See ECF No. 86. Accordingly,

the Court recommends that District Judge Paul A. Crotty DISMISS these Defendants with

prejudice.

        On October 29, 2019, Plaintiffs indicated that they have obtained default judgments

against Defendants D & E 313 LLC and Dennis Foy. See ECF No. 88. Plaintiffs are ORDERED

to file a letter no later than October 27, 2020, indicating whether this case may be closed. If the

case should not be closed, Plaintiffs should explain what further litigation is outstanding.

SO ORDERED.




DATED:           New York, New York
                 October 21, 2020
